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                                                                   U.S.

              UNITED STATES DISTRICT COURT
                                                               2012JM30 A14,11 : 38
              SOUTHERN DISTRICT OF GEORGIA
                                                               CEL.7LJ
                        STATE SBORO DIVISION


                          )
                          )
   Petitioner,            )
                          )
V.                        )            Case No. CV611-065
                          )                      CR606-026
UNITED STATES OF AMERICA, )
                          )
   Respondent.            )

                               ORDER
     After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

     SO ORDERED       thi7p4ay of                      , 2012.



                                 13. AVANT EIYENFIELD II
                                 UNITED STATES DISTRTtUDGE
                                                               /
                                 SOUTHERN DISTRICTAVOF GEORGIA
